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                   THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF PENNSYLVANIA

       UNITED STATES OF AMERICA               :     NO. 1:15-CR-0283
                 Respondent                   :
                                              :
                    v.                        :     JUDGE RAMBO
                                              :
       CURTIS WALDRON,                        :     MAGISTRATE JUDGE CARLSON
                 Petitioner                   :


              MOTION TO WITHDRAW AND TERMINATE PETITIONER’S
                           SECTION 2255 PETITION

       AND NOW, this 11th day of February, 2021, comes Petitioner Curtis Waldron, by

and through his court appointed counsel Dean E. Reynosa, Esquire, and hereby states

as follows:

       1.     On December 2, 2015, Petitioner was indicted with Count (1) unlawfully

possessing with the intent to distribute heroin, at least 500 grams of cocaine

hydrochloride, and at least 280 grams of cocaine base between January 1, 2015

through October 1, 2015; and Count (2) unlawful distribution of heroin, marijuana, and

cocaine hydrochloride on October 2, 2015. See Document 1.

       2.     On September 12, 2016, Petitioner pled guilty to Count 2 of the

indictment. See Document 38.

       3.     On March 30, 2017, Petitioner appeared before the Honorable Sylvia H.

Rambo for sentencing and was sentenced to a term of incarceration of 151 months.

See Document 57.

       4.     In determining Petitioner’s sentence, Judge Rambo declared that the

Petitioner was a career offender. See Document 64 at pg. 21.
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       5.    Petitioner was represented by Attorney Elisabeth K.H. Pasqualini at the

time of the guilty plea proceeding and through sentencing.

       6.    Petitioner pursued a direct appeal following which his sentence was

affirmed by the Third Circuit Court of Appeals by opinion and order issued on August

28, 2018. See Document 67.

       7.    After several extensions of time to file had been granted, Petitioner filed a

pro se Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a

Person in Federal Custody (hereinafter “Section 2255 Petition”). See Document 77.

       8.    Petitioner raised claims of ineffective assistance of counsel related to the

plea discussions and investigation of the case.

       9.    A counseled Section 2255 Petition was filed on Petitioner’s behalf on

January 18, 2021, raising claims of ineffective assistance of counsel. See Document

103.

       10.   There is presently a hearing scheduled for February 25, 2021, before the

Honorable Martin C. Carlson to address the ineffective assistance of counsel claims

raised in the pro se Section 2255 Petition and the counseled Petition.

       11.   After having the opportunity on several occasions to discuss with counsel

the issues raised in both the pro se petition and the counseled petition, Petitioner

wishes to withdraw the Section 2255 Petition.
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        12.     Petitioner has signed a statement stating his desire to withdraw his 2255

Petition. See Exhibit A.1

        13.     Petitioner has been advised that should the Court permit the withdrawal of

the Section 2255 Petition, he will be forever barred from pursuing any claims related to

his conviction and sentence and the representation provided by Attorney Elisabeth K.H.

Pasqualini. Id.

        14.     Petitioner acknowledged that he understood that should the Court permit

this withdrawal of his Section 2255 Petition, his case would be closed and he would be

required to serve the entirety of the sentence imposed by Judge Sylvia H. Rambo. Id.

        15.     It is respectfully requested that this Honorable Court permit Petitioner to

withdraw his pro se and counseled Section 2255 Petition and permit him to return to his

institution to serve the balance of his sentence.

        16.     If the Court grants this Motion to Withdraw the 2255 Petition, it is further

requested that the Court direct that the hearing scheduled for February 25, 2021, be

cancelled.




1 In effort to expedite the filing of this motion considering that the hearing date is approaching, counsel has
attached a facsimile copy of the Petitioner’s Statement as an exhibit. Counsel is awaiting the original signed
statement to arrive in the mail. Counsel has spoken with Petitioner by telephone and believes that the signed
statement memorializes Petitioner’s intent to withdraw and terminate his Section 2255 Petition.
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      Wherefore, based upon the foregoing, it is respectfully requested that this

Honorable Court grant Petitioner’s Motion to Withdraw the 2255 Petition and cancel the

hearing.



                                       Respectfully Submitted,

                                       GRIEST, HIMES, HERROLD, REYNOSA, LLP


                                       By:____/s/Dean E. Reynosa___________
                                       Dean E. Reynosa, Esquire
                                       Sup. Ct. ID No. 80440
                                       129 East Market Street
                                       York, Pennsylvania 17401
                                       (717) 846-8856
                                       (717) 846-3610 (fax)
                                       dreynosa@ghhrlaw.com
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                  THE UNITED STATES DISTRICT COURT FOR THE
                      MIDDLE DISTRICT OF PENNSYLVANIA

      UNITED STATES OF AMERICA              :      NO. 1:15-CR-0283
                Respondent                  :
                                            :
                   v.                       :      JUDGE RAMBO
                                            :
      CURTIS WALDRON,                       :      MAGISTRATE JUDGE CARLSON
                Petitioner                  :

                        CERTIFICATE OF CONCURRENCE


      I, Dean E. Reynosa, Esquire, hereby certify that on February 11, 2021, I

exchanged messages with Assistant United States Attorney William A. Behe and he did

not oppose the granting of the foregoing Unopposed Motion to Withdraw and

Terminate Petitioner’s Section 2255 Petition.



                                      Respectfully Submitted,

                                      GRIEST, HIMES, HERROLD, REYNOSA, LLP


                                      By:_____/s/Dean E. Reynosa___________
                                      Dean E. Reynosa, Esquire
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                                      129 East Market Street
                                      York, Pennsylvania 17401
                                      (717) 846-8856
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                                      dreynosa@ghhrlaw.com
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                     THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF PENNSYLVANIA

       UNITED STATES OF AMERICA                   :     NO. 1:15-CR-0283
                 Respondent                       :
                                                  :
                     v.                           :     JUDGE RAMBO
                                                  :
       CURTIS WALDRON,                            :     MAGISTRATE JUDGE CARLSON
                 Petitioner                       :


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 11 th day of February, 2021, I caused

the foregoing document to be filed via ECF and that Assistant United States Attorney

William A. Behe is a filing user under the ECF system. Upon the electronic filing of a

pleading or other document, the ECF system will automatically generate and send a

Notice of Filing to all filing users associated with this case. Electronic Service by the

Court of the Notice of Electronic Filing constitutes service of the filed documents and no

additional service upon the filing user is required.


                                           Respectfully Submitted,

                                           GRIEST, HIMES, HERROLD, REYNOSA, LLP


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                                           Dean E. Reynosa, Esquire
                                           Sup. Ct. ID No. 80440
                                           129 East Market Street
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                                           (717) 846-8856
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